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                                   1                                  UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3
                                         CALIFORNIA RIVER WATCH,
                                   4                                                   Case No. 22-cv-01504-SI (SI)
                                                       Plaintiffs,
                                   5
                                                 v.                                    PRETRIAL PREPARATION ORDER
                                   6                                                   (CIVIL)
                                         FERMA CORPORATION,
                                   7
                                                       Defendants.
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                                       It is hereby ORDERED pursuant to F.R.C.P. and the Local Rules of this Court:
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                                  11   ADR: Court Sponsored Mediation by: 10/6/2022.

                                  12   FURTHER CASE MANAGEMENT: 10/28/2022 at 3:00 PM.
Northern District of California
 United States District Court




                                       Counsel must file a joint case management statement seven days in advance of the
                                  13   conference.
                                  14
                                       DISCOVERY PLAN: Per F.R.Civ.P and Local Rules, subject to any provisions below.
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                                       NON-EXPERT DISCOVERY CUTOFF is: 12/16/2022.
                                  16
                                       DESIGNATION OF EXPERTS: 1/27/2023; REBUTTAL: 2/24/2023;
                                  17        Parties SHALL conform to Rule 26(a)(2).
                                  18
                                       EXPERT DISCOVERY CUTOFF is: 3/24/2023.
                                  19
                                       DISPOSITIVE MOTIONS SHALL be filed by; 4/21/2023;
                                  20        Opp. Due: 5/5/2023; Reply Due: 5/12/2023;
                                            and set for hearing no later than 5/26/2023 at 10:00 AM.
                                  21
                                       PRETRIAL CONFERENCE DATE: 7/25/2023 at 3:30 PM.
                                  22

                                  23   BENCH TRIAL DATE: 8/7/2023 at 9:00 AM.
                                           Courtroom 1, 17th floor.
                                  24
                                       TRIAL LENGTH is estimated to be 3-5 days.
                                  25

                                  26   SPECIAL DISCOVERY AND PRETRIAL PROVISIONS:

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                                       The pretrial conference SHALL be attended by trial counsel prepared to discuss all aspects
                                   1   of the case, including settlement. Parties SHALL conform to the attached instructions.
                                   2   Plaintiff is ORDERED to serve a copy of this order on any party subsequently joined in this
                                       action.
                                   3
                                              IT IS SO ORDERED.
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                                       Dated: July 8, 2022
                                   6
                                                                                        ____________________________________
                                   7                                                    SUSAN ILLSTON
                                                                                        United States District Judge
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Northern District of California
 United States District Court




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